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                               MINUTE ORDER



 CASE NUMBER:           1:17-CR-00101-LEK
 CASE NAME:             USA v. Anthony T. Williams


      JUDGE:      Leslie E. Kobayashi          DATE:            6/4/2019


COURT ACTION: EO: [492]Defendant’s “Motion for Bond”; and [493]Defendant’s
“Motion To Show Administrative Remedy Procedures at FDC Honolulu Are a Sham,
Farce and No Available Means for a Remedy” will be considered by Judge Leslie E.
Kobayashi as a Non Hearing Motion.

Responsive Memorandum or Memorandum in Opposition is due 6/18/2019. Reply
Memorandum is due 7/2/2019.

[492]Defendant’s “Motion for Bond”; and [493]Defendant’s “Motion To Show
Administrative Remedy Procedures at FDC Honolulu Are a Sham, Farce and No
Available Means for a Remedy” will be taken under submission thereafter. Court to issue
Order.



Submitted by: Theresa Lam, Courtroom Manager
